                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA


CHARLES ALBERT LIND,

                          Plaintiff,

                  v.

KELCEY HARRISON,                                    Case No. 4:19-cv-00005-SLG

                          Defendant.


                                   ORDER OF DISMISSAL

         This action was instituted in February 2019. 1 The Court issued a screening

order regarding Mr. Lind’s filings dated June 13, 2019. That order sought to identify

certain deficiencies in Mr. Lind’s filings; it accorded him until July 15, 2019, within

which to file an amended complaint that addressed the deficiencies or a notice of

voluntary dismissal. 2 Although Mr. Lind has filed several notices after June 13,

2019, 3 he has not filed an amended complaint. Nor has he set clearly set forth in

any notice to the Court an intention to voluntarily dismiss this case.

         In light of the foregoing, IT IS ORDERED that this case is DISMISSED; the

Clerk of Court is directed to close this case.

         DATED this 25th day of July, 2019, at Anchorage, Alaska.

                                                      /s/ Sharon L. Gleason
                                                      UNITED STATES DISTRICT JUDGE


1
    Docket 1.
2
    See Order of Dismissal With Leave to Amend (Docket 17).
3
    See Dockets 18, 19, 20, and 22. See also Order at Docket 21 regarding the first three notices.

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